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                                                        May 13, 2019
   BY ECF
   Honorable Judge Lois Bloom
   United States District Magistrate Judge
   United States District Court
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

   Re:      Dennis v. Carlisle Etcetera LLC., 18-cv-07109(NGG)(LB)

   Dear Magistrate Bloom,
           This firm represents Defendant Carlisle Etcetera LLC (“Defendant”). Pursuant to the
   March Order of this Court, counsel for Defendant and counsel for Plaintiff Derrick Dennis
   (“Plaintiff”) submit this joint letter and proposed Case Management Plan on behalf of all parties
   in anticipation of the May 14, 2019 Initial Pre-trial Conference.

         1. Brief Statement of the Nature of the Case
   Plaintiff: This lawsuit concerns whether Defendant is violating the Americans with Disabilities
   Act, New York State Human Rights Law, New York City Human Rights Law and New York State
   Civil Rights Law, by failing to make its website equally accessible to the visually impaired.
   Defendant’s website is a gateway to and heavily integrated with their physical locations: listing
   the store’s locations and operation hours; and allowing customers to learn about products, goods,
   offers and services such as promotions and special offers.


          Plaintiff Dennis is legally blind and cannot use a computer without the assistance of screen-
   reading software. Defendants' website is, however, not designed to be read by screen-reading
   software. Because of this, Plaintiff Dennis encountered multiple barriers that denied him access to
   the website and physical locations equal to sighted individuals. He could not, for example, learn


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where the stores are located or their hours of operation, thereby deterring him from visiting the
physical location.
        In the Complaint, Plaintiff Dennis asserts Defendant’s store and website are a "place of
public accommodation," and the website is also a "service of those physical places of public
accommodation under the ADA, NYSHRL and NYCHRL.” He further asserts Defendant is
violating these statutes by not taking the necessary steps to ensure that he and other visually
impaired individuals have full and equal enjoyment of the goods and services of the website as it
was not complaint with the ADA at the time the lawsuit was commenced and remains to pose
accessibility barriers and is non-complaint up until today.
        As Plaintiff has noted to Defendant and would like to make clear to the court, the parties
have not reached an agreement as to a twenty-four-month remediation period. Plaintiff and
Defendant have discussed the potential for early resolution along with remediation terms that
Plaintiff would consider if the parties were able to continue settlement discussions and ultimately
agree to an all-encompassing settlement.
Defendant: Defendants’ website is compliant. Defendant recently overhauled their website to
improve the user experience for blind and visually impaired visitors to the website. Defendants
have reviewed all of the underlying coding on the website to look for possible accessibility issues.
At this time, the Website is reasonably accessible to visually-impaired individuals using most
commercially available screen-readers and a standard computer keyboard. In addition, the parties
have reached an agreement as to a remediation period.
       Given the full accessibility of Defendant’s website and the parties’ agreement to a
remediation period during which additional remediation can take place, if necessary, the only
outstanding issue in this matter is Plaintiff’s counsel’s attorneys fees.

   1. Brief Statement Regarding Subject Matter Jurisdiction and Venue.
                 Plaintiff: This Court has subject-matter jurisdiction over this action under 28 U.S.C.
§ 1331 and 42 U.S.C. § 12181, as the plaintiff’s claims arise under Title III of the ADA, 42 U.S.C.
§ 12181, et seq., and 28 U.S.C. § 1332. This Court has supplemental jurisdiction under 28 U.S.C.§
1367 over the plaintiff’s New York State Human Rights Law, N.Y. Exec. Law article 15,
(NYSHRL), New York State Civil Rights Law article 4 (NYSCRL), and New York City Human
Rights Law, N.Y.C. Admin. Code § 8 101, et seq., (NYCHRL) claims. Venue is proper in this
district under 28 U.S.C. §1391(b)(1) and (2) because the plaintiff resides in this district, the
defendant conducted and continues to conduct a substantial and significant amount of business in
this district, the Defendant is subject to personal jurisdiction in this district, and a substantial
portion of the conduct complained of herein occurred in this district.
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   2. Contemplated Motions
Plaintiff: Following the close of discovery, Plaintiff anticipates moving for summary judgment
and Rule 23(b) class certification.
Defendant: Following the close of discovery, Defendant anticipates making a motion for summary
judgment.

   3. Description of Discovery Exchanged.
No discovery has been exchanged.

   4. Computation of each category of damages claimed.

Plaintiff: Compensatory damages in an amount to be determined by proof, including all
applicable statutory and punitive damages and fines, to the plaintiff and the proposed subclasses
for violations of their rights under the NYSHRL, NYSCRL, and NYCHRL in addition to costs
and attorneys fees.
Defendant: The only question that remains to be resolved is the amount of Plaintiff’s attorneys
fees.

   5. Status of Settlement Discussions.

Plaintiff: As noted above, the parties have not agreed to a twenty-four-month remediation
period. Plaintiff would propose defendant enter into an agreement to monitor compliance moving
forward as part of an all-encompassing settlement. At this time, Plaintiff would request the
parties continue discussions among themselves and would not consent to a settlement conference
of mediation.
Defendant: As noted above, the parties have agreed to a remediation period during which time
Defendants can continue to improve any accessibility issues. Therefore, the only issue that remains
is the monetary amount of settlement. This case can be resolved with either a settlement conference
or through mediation.
                                                            Respectfully submitted,


                                                            ALI LAW GROUP PC
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